     Case 1:13-cv-10103-PBS Document 202 Filed 06/18/18 Page 1 of 3



                         UNITED   STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS




SEAN STENTIFORD,

                          Plaintiff,
     V.                                                   Civil Action
                                                      No.   13-10103-PBS
KINAN K.    HREIB,   STEPHEN E.
SOUTHARD,    and DANIEL P.    MCQUILLEN,

                          Defendants.




                                  VERDICT FORM




1.   Was Stephen E. Southard, M.D., negligent in his care and
     treatment of Sean Stentiford?



             Yes                                 No




     (If you answered ''Yes'' to Question 1, please proceed to
     Question 2. If you answered "No," please proceed to
     Question 3.)



2.   Was the negligence of Stephen E. Southard, M.D., a
     proximate cause of injury to Sean Stentiford?


             Yes     y                           No




     (Please proceed to Question 3.)
     Case 1:13-cv-10103-PBS Document 202 Filed 06/18/18 Page 2 of 3



3.   Was Kinan K. Hreib, M.D., negligent in his care and
     treatment of Sean Stentiford?



           Yes       /
                     V                       No



     (If you answered "Yes" to Question 3, please proceed to
     Question 4. If you answered       please proceed to
     Question 5.)



4.   Was the negligence of Kinan K. Hreib, M.D., a proximate
     cause of injury to Sean Stentiford?


           Yes       /
                     V                       No



     (Please proceed to Question 5.)


5.   Was Daniel P. McQuillen, M.D., in 2009 negligent in his
     care and treatment of Sean Stentiford?



            Yes      /
                     V                       No



     (If you answered "Yes" to Question 5, please proceed to
     Question 6. If you answered       please proceed to
     Question 7, but only if you answered Questions 2 and/or 4
     as   "Yes.";



6.   Was the negligence of Daniel P. McQuillen, M.D., in 2009 a
     proximate cause of injury to Sean Stentiford?


            Yes                              No    v/
     (If you answered ''Yes^' to Question 6, please proceed to
     Question 7. If you answered ''No,'' please proceed to
     Question 7, but only if you answered Questions 2 and/or 4
     as   "Yes. ")
       Case 1:13-cv-10103-PBS Document 202 Filed 06/18/18 Page 3 of 3




7.     What amount of money do you award Sean Stentiford as full
       and fair compensation for his injuries and damages?


        * i&, 4
       {Numerical figure)


                     "PoiMT    FOOi^    MILLION)    ~t>OLLA/gS
       (Please write out the figure in words.)


       (Question 1 should be answered only i f you answered
       Questions 2, 4, and/or 6 as "Yes."^




       I certify that the jury unanimously concurs in the above
answers.




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